    Case
      Case
         3:16-md-02741-VC
            MDL No. 2741 Document
                          Document3819
                                   20677 Filed
                                            Filed
                                               05/28/25
                                                  05/28/25 Page
                                                             Page
                                                                1 of1 2of 2




                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION


IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                                          MDL No. 2741



                                        (SEE ATTACHED SCHEDULE)



                                     CONDITIONAL REMAND ORDER



The transferee court in this litigation has advised the Panel that coordinated or consolidated pretrial
proceedings in the action(s) on this conditional remand order have been completed and that remand to the
transferor court(s), as provided in 28 U.S.C. § 1407(a), is appropriate.

IT IS THEREFORE ORDERED that the action(s) on this conditional remand order be remanded to its/their
respective transferor court(s).

IT IS ALSO ORDERED that, pursuant to Rule 10.2 of the Rules of Procedure of the United States Judicial
Panel on Multidistrict Litigation, the transmittal of this order to the transferee clerk for filing shall be stayed 7
days from the date of this order. If any party files a notice of opposition with the Clerk of the Panel within
this 7−day period, the stay will be continued until further order of the Panel. This order does not become
effective until it is filed in the office of the Clerk for the United States District Court for the Northern District
of California.

IT IS FURTHER ORDERED that, pursuant to Rule 10.4(a), the parties shall furnish the Clerk for the
Northern District of California with a stipulation or designation of the contents of the record to be remanded.



                                                              FOR THE PANEL:



              May 28, 2025
                                                              James V. Ingold
                                                              Clerk of the Panel
  Case
    Case
       3:16-md-02741-VC
          MDL No. 2741 Document
                        Document3819
                                 20677 Filed
                                          Filed
                                             05/28/25
                                                05/28/25 Page
                                                           Page
                                                              2 of2 2of 2




IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                  MDL No. 2741



                               SCHEDULE FOR CRO


    TRANSFEREE          TRANSFEROR
 DIST DIV. C.A.NO.   DIST DIV. C.A.NO.   CASE CAPTION
 CAN 3 22−02292      CAC 2 22−01986      Anousheh Sabouri et al v. Monsanto Company et al
 CAN 3 21−00675      FLN 4 19−00208      BOATRIGHT v. MONSANTO COMPANY et al
 CAN 3 20−04834      FLN 4 20−00138      COLTON v. MONSANTO COMPANY et al
 CAN 3 19−04606       ID   4 19−00252    Hoge v. Monsanto Company
 CAN 3 20−04746      LAE 2 20−01817      Adams et al v. Monsanto Company
 CAN 3 21−04928      LAE 2 21−01088      Fritscher et al v. Monsanto Company
 CAN 3 21−06562      MIE 2 21−11407      Agosta v. Monsanto Company, Inc.
 CAN 3 20−03444      MOE 4 20−00466      Hutchison v. Monsanto Company
 CAN 3 19−03539      MSN 4 19−00082      McCaskill v. Monsanto Company et al
 CAN 3 19−03786      NCW 3 19−00265      Putzrath et al v. Monsanto Company
 CAN 3 20−01419       NJ   3 20−01367    Collins v. Monsanto Company et al
 CAN 3 21−02908      OHN 1 21−00613      Stackhouse v. Monsanto Company, Inc.
 CAN 3 19−05598      OHN 3 19−01823      Rhuland et al v. Monsanto Company
 CAN 3 21−02705      OHN 3 21−00678      Dominique v. Monsanto Company
